     Case 2:23-cv-00247-JAD-VCF Document 24 Filed 04/13/23 Page 1 of 3




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12
                               UNITED STATES DISTRICT COURT
13
                                       DISTRICT OF NEVADA
14
      JYSAN HOLDING, LLC, a Nevada Limited          Case No.: 2:23-cv-00247-JAD-VCF
15    Liability       Company;     JUSAN
      TECHNOLOGIES LTD, an England and
16    Wales Limited Company;

17       Plaintiff,
                                                       CERTIFICATE OF INTERESTED
18    REPUBLIC OF KAZAKHSTAN, a foreign                         PARTIES
      sovereign state; THE AGENCY FOR
19    REGULATION AND DEVELOPMENT OF
      THE FINANCIAL MARKET OF THE
20    REPUBLIC OF KAZAKHSTAN, a
      Kazakhstan Government agency; THE
21    ANTI-CORRUPTION AGENCY OF THE
      REPUBLIC OF KAZAKHSTAN, a
22    Kazakhstan Government anti-corruption
      agency; THE FINANCIAL MONITORING
23    AGENCY OF THE REPUBLIC OF
      KAZAKHSTAN, a Kazakhstan Government
24    agency;      THE    COMMITTEE      FOR
      NATIONAL            SECURITY        OF
25    KAZAKHSTAN, a Kazakhstan Government
      intelligence      agency;     MADINA
26    ABYLKASSYMOVA,            an individual;
      OLZHAS KIZATOV, an individual;
27    ARMAN OMARBEKOV, an individual; and
      ADILBEK         DZHAKSYBELOV,        an
28    individual,
                                                   1
     Case 2:23-cv-00247-JAD-VCF Document 24 Filed 04/13/23 Page 2 of 3




1
         Defendants.
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3           The undersigned, attorneys of record for Defendants Madina Abylkassymova, Olzhas

4    Kizatov, and Arman Omarbekov, certifies that in addition to the parties to this action, no other

5    known persons, associations of persons, firms, partnerships, or corporations have a direct,

6    pecuniary interest in the outcome of this case. These representations are made to enable judges of

7    the court to evaluate possible disqualifications or recusal.

8                                   DATED April 13, 2023.

9                                                   MCNUTT LAW FIRM, P.C.

10                                                  /s/ Dan McNutt                     .
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17                                                  Counsel for Defendants Madina Abylkassymova,
                                                    Olzhas Kizatov, and Arman Omarbekov
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     Case 2:23-cv-00247-JAD-VCF Document 24 Filed 04/13/23 Page 3 of 3




1                                     CERTIFICATE OF SERVICE

2           The undersigned is an employee of McNutt Law Firm, P.C. and certifies that under Fed.

3    R. Civ. P. 5, on April 13, 2023, I served a true and correct copy of CERTIFICATE OF

4    INTERESTED PARTIES via electronic mail to all persons registered to receive service in this

5    action through the United States District Court’s CM/ECF system.

6
7
                                                /s/ Lisa Heller
8
                                                An Employee of McNutt Law Firm, P.C.
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